
243 Md. 696 (1966)
221 A.2d 906
MEFFORD
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 108, September Term, 1965.]
Court of Appeals of Maryland.
Decided July 26, 1966.
Before the entire Court.
PER CURIAM:
This application for leave to appeal from a denial of post conviction relief by Judge Menchine arises out of facts set forth in elaborate detail in Mefford v. State, 235 Md. 497, 201 A.2d 824 (1964). Petitioner contends that he was denied due process in his original trial by a combination of the inexperience of assigned counsel and the prosecuting attitude of the trial judge. Judge Menchine made an express finding that petitioner's counsel had "carried out his duties in the defense of the Petitioner with competence and vigor." He also found that the trial judge's participation in the trial "did not in any sense constitute judicial impropriety." We find in the record ample support for these findings.
Application denied.
